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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

  JACK REESE, et al,

        Plaintiffs,                          Case No. 2:04-cv-70592

  v.                                         HONORABLE STEPHEN J. MURPHY, III

  CNH INDUSTRIAL N.V. et al,

        Defendants.

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                                      JUDGMENT

       IT IS ORDERED AND ADJUDGED that pursuant to the Sixth Circuit's order dated

 August 27, 2018 and the mandate issued October 19, 2018, judgment is hereby entered

 in favor of Defendants.


                                  DAVID J. WEAVER
                                  CLERK OF THE COURT

                                  BY: s/D. Parker
                                  Deputy Clerk

 APPROVED:

 s/Stephen J. Murphy, III
 STEPHEN J. MURPHY, III
 UNITED STATES DISTRICT JUDGE

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on October 30, 2018, by electronic and/or ordinary mail.

                                         s/David P. Parker
                                         Case Manager
